Case 18-05693-hb           Doc 158      Filed 04/06/20 Entered 04/06/20 08:15:02            Desc Main
                                        Document     Page 1 of 6


                               IN THE UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF SOUTH CAROLINA

    In Re:
                                                                               Case Number 18-05693
    Melissa Arletta Hogan                                                           Chapter 13
    FKA Melissa Singleton


                                            Debtor(s)

    1005 Clarkson Street
    Rock Hill, SC 29730

    Last four digits of Social-Security or Individual
    Tax-Payer-Identification (ITIN) No(s).,
    xxx-xx-6536



          APPLICATION FOR SUSPENSION OF PAYMENTS UNDER CHAPTER 13 PLAN
        Pursuant to 11 USC § 1329, debtor(s) request that the Court order suspension of payments
under the debtor’s Chapter 13 Plan. Debtor(s) request that payments be suspended until July 2020.

    Debtor requests suspension of payments for the following reason:
    Debtor needs the moratorium because Coronavirus has caused debtor's household income to
    temporarily decrease.
                                                         O’STEEN LAW FIRM, LLC
                                                         /s/ F. Lee O'Steen
                                                         F. Lee O'Steen
                                                         P.O. Box 36534, Rock Hill, SC 29732
                                                         (803) 327-5300; (803) 327-5250 (fax)
                                                         lee@osteenlawfirm.com
April 6, 2020
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF SOUTH CAROLINA


    In Re:
                                                                                  Case Number 18-05693
    Melissa Arletta Hogan                                                              Chapter 13
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    Rock Hill, SC 29730

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    xxx-xx-6536



               NOTICE OF MOTION/APPLICATION AND OPPORTUNITY FOR HEARING


TAKE NOTICE that the Debtor(s) filed an Application for Suspension of Payments Under Chapter 13
Plan.

A copy of the Application and a proposed order accompanies this notice.

         TAKE FURTHER NOTICE that any responses, return and/or objection to this application, should
be filed with the Clerk of Bankruptcy Court no later than twenty-one (21) days from service of application
and a copy simultaneously served on all parties in interest.

        TAKE FURTHER NOTICE that no hearing will be held on this application unless a response,
return and/or objection is timely filed and served, in which case the Court will conduct a hearing on May
28, 2020 at 10:30 AM, at the Donald Stuart Russell Federal Courthouse, 201 Magnolia Street,
Spartanburg, SC 29306-2355. No further notice of this hearing will be given.

        Dated this April 6, 2020

                                                         /s/F. Lee O’Steen, #8032______
                                                         O’Steen Law Firm, LLC
                                                         Attorney for Debtor(s)
                                                         P.O. Box 36534, Rock Hill, SC 29732
                                                         Phone (803) 327-5300; Fax (803) 327-5250
                                                         lee@osteenlawfirm.com

Address of Court for filing response:
J. Bratton Davis
U.S. Bankruptcy Courthouse
1100 Laurel Street
Columbia, SC 29201-2423
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                               IN THE UNITED STATES BANKRUPTCY COURT
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    In Re:
                                                                                  Case Number 18-05693
    Melissa Arletta Hogan                                                              Chapter 13
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                                            Debtor(s)

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    Rock Hill, SC 29730

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    xxx-xx-6536




                                  CERTIFICATE OF SERVICE BY MAIL


    I hereby certify that I have on April 6, 2020 served a copy of the Notice of Motion/Application
    and Opportunity for Hearing, the Application for Suspension of Payments Under Chapter 13
    Plan and the Proposed Order on all parties on the attached mailing list by mailing copies
    thereof by United States Postal Service properly addressed and first-class postage prepaid.




                                                        O’STEEN LAW FIRM, LLC
                                                        /s/ F. Lee O'Steen
                                                        F. Lee O'Steen
                                                        P.O. Box 36534
                                                        Rock Hill, SC 29732
                                                        (803) 327-5300
                                                        (803) 327-5250 (fax)
                                                        lee@osteenlawfirm.com
April 6, 2020
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Label Matrix for local noticing         AES/PHEAA
                                             Document     Page 4 of 6         AES/PHEAA
0420-7                                  1112 7th Ave                              Attn: Bankruptcy
Case 18-05693-hb                        Monroe WI 53566-1364                      1200 North 7th St
District of South Carolina                                                        Harrisburg PA 17102-1419
Spartanburg
Mon Apr 6 08:13:36 EDT 2020
AMCA                                    American Profit Recovery                  American Profit Recovery
PO Box 1235                             34405 W. 12 Miled Rd                      34505 W 12 Mile Rd Ste 3
Elmsford NY 10523-0935                  Ste 379                                   Farmington Hills MI 48331-3288
                                        Farmington MI 48331-5608


American Profit Recovery                Anesthesia Associates of Rock Hill        Ashley Funding Services, LLC
Attn: Bankruptcy                        PO Box 516                                Resurgent Capital Services
34505 W 12 Mile Road #333               Columbia SC 29202-0516                    PO Box 10587
Farmington Hills MI 48331-3288                                                    Greenville, SC 29603-0587


Linda Barr                              Bottom Line Books                         Boyne Pediatric Dentistry
Office of United States Trustee         PO Box 11014                              1562 Constitution Blvd Suite 102
1835 Assembly Street                    Des Moines IA 50336                       Rock Hill SC 29732-3540
Suite 953
Columbia, SC 29201-2448

Brock & Scott, PLLC                     (p)CAPITAL ONE                            Capital One
3800 Fernandina Rd, Ste 110             PO BOX 30285                              Attn: Bankruptcy
Columbia SC 29210-3838                  SALT LAKE CITY UT 84130-0285              Po Box 30285
                                                                                  Salt Lake City UT 84130-0285


Capital One Bank (USA), N.A.            Chase Bank USA, N.A.                      (p)JPMORGAN CHASE BANK N A
PO Box 71083                            c/o Robertson, Anschutz & Schneid, P.L.   BANKRUPTCY MAIL INTAKE TEAM
Charlotte, NC 28272-1083                6409 Congress Avenue, Suite 100           700 KANSAS LANE FLOOR 01
                                        Boca Raton, FL 33487-2853                 MONROE LA 71203-4774


Chase Card Services                     Molly H Cherry                            Credit Control
Po Box 901003                           Nexsen Pruet, LLC                         PO Box 488
Ft Worth TX 76101-2003                  PO Box 486                                Hazelwood MO 63042-0488
                                        Charleston, SC 29402-0486


DISH Network                            A. Todd Darwin                            (p)DELL FINANCIAL SERVICES
PO Box 94063                            P.O. Drawer 1897                          P O BOX 81577
Palatine IL 60094-4063                  Spartanburg, SC 29304-1897                AUSTIN TX 78708-1577



Equifax Information Services LLC        Experian                                  (p)US DEPARTMENT OF HOUSING AND URBAN DEVELOP
PO Box 740256                           PO Box 2002                               ATTN ROBERT ZAYAC
Atlanta GA 30374-0256                   Allen TX 75013-2002                       40 MARIETTA ST SUITE 300
                                                                                  ATLANTA GA 30303-2812


FMA Alliance                            Family Trust Fcu                          Family Trust Federal Credit Union
PO Box 2409                             1615 Progress Way                         PO Drawer 10233
Houston TX 77252-2409                   Rock Hill SC 29730-7083                   Rock Hill SC 29731-0233
               Case 18-05693-hb            Doc 158   Filed 04/06/20         Entered 04/06/20 08:15:02      Desc Main
FedLoan Servicing                               FedLoan Servicing
                                                     Document           Page 5 of 6          Figi’s Companies Inc
Attn: Bankruptcy                                Po Box 60610                                 c/o Creditors Bankruptcy Service
Po Box 69184                                    Harrisburg PA 17106-0610                     P.O. Box 800849
Harrisburg PA 17106-9184                                                                     Dallas, TX 75380-0849


Figi’s Inc                                      Founders Federal Credi                       Founders Federal Credit Union
PO Box 8090                                     607 N Main St                                737 Plantation Road
Marshfield WI 54449-8090                        Lancaster SC 29720-2137                      Lancaster SC 29720-5808



(p)FROST ARNETT                                 GC Services Limited Partnership              George Conits
BANKRUPTCY DEPARTMENT                           PO Box 5220                                  U.S. Attorney General Office
PO BOX 198988                                   San Antonio TX 78201-0220                    55 Beattie Place, Suite 700
NASHVILLE TN 37219-8988                                                                      Greenville SC 29601-2168


Suzanne Taylor Graham Grigg                     Melissa Arletta Hogan                        Gretchen D. Holland
Nexsen Pruet, LLC                               1005 Clarkson Street                         Ch. 13 Trustee Office
PO Drawer 2426                                  Rock Hill, SC 29730-4820                     20 Roper Corners Circle, Suite C
Columbia, SC 29202-2426                                                                      Greenville, SC 29615-4889


Internal Revenue Service                        John Casablancas Center                      Lab Corp
Centralized Insolvency Operations               810 Tyvola Rd #100                           PO Box 2240
P.O. Box 7346                                   Charlotte NC 28217-3589                      Burlington NC 27216-2240
Philadelphia PA 19101-7346


Labtech Diagnostics                             Mark T Lavery                                MRS Associates
1502 E Greenville St.                           Law Solutions Chicago LLC                    1930 Olney Ave.
Anderson SC 29621-2005                          dba UpRight Law LLC                          Cherry Hill NJ 08003-2016
                                                79 W Monroe St 10th Floor
                                                Chicago, IL 60603-4901

Travis E. Menk                                  NCB Management Services                      NCB Management Services
Brock & Scott, PLLC                             1 Allied Dr                                  Attn: Bankruptcy
8757 Red Oak Blvd.                              Trevose PA 19053-6945                        One Allied Drive
Suite 150                                                                                    Trevose PA 19053-6945
Charlotte, NC 28217-3977

National Education                              Navient                                      Navient
PO Box 410318                                   Attn: Bankruptcy                             Po Box 9500
Saint Louis MO 63141-0318                       Po Box 9000                                  Wilkes Barre PA 18773-9500
                                                Wiles-Barr PA 18773-9000


Navient Solutions, LLC. on behalf of            North Carolina Department of Revenue         North Shore Agency
Texas Guaranteed Student Loan Corporatio        Angela C. Fountain Bankruptcy Manager        PO Box 758
DBA Trellis Company                             Collections Examination Division             Neenah WI 54957-0758
PO BOX 83100                                    P.O. Box 1168
Round Rock, TX 78683-3100                       Raleigh NC 27602-1168

F. Lee O’Steen                                  ONEMAIN FINANCIAL                            OneMain Financial
O’Steen Law Firm, LLC                           PO BOX 3251                                  2736 Celanese Road
PO Box 36534                                    EVANSVILLE, IN 47731-3251                    Rock Hill SC 29732-8440
Rock Hill, SC 29732-0509
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PRA Receivables Management, LLC        PennyMac Loan Services, Page
                                            Document           LLC     6 of 6         PennyMac Loan Services, LLC
PO Box 41021                           3043 Townsgate Road, #200                      P.O. Box 2410
Norfolk, VA 23541-1021                 Westlake Village, CA 91361-3027                Moorpark, CA 93020-2410



Pennymac Loan Services                 Pennymac Loan Services                         (p)PORTFOLIO RECOVERY ASSOCIATES LLC
6101 Condor Dr                         Attn: Bankruptcy                               PO BOX 41067
Moorpark CA 93021-2602                 Po Box 514387                                  NORFOLK VA 23541-1067
                                       Los Angeles CA 90051-4387


Portfolio Recovery                     Portfolio Recovery Asso.                       Radius
Po Box 41021                           PO Box 12914                                   PO box 390846
Norfolk VA 23541-1021                  Norfolk VA 23541-0914                          Minneapolis MN 55439-0846



South Carolina Attorney General        South Carolina Department of Revenue           Southwest Credit System
Honorable Alan Wilson                  P.O. Box 12265                                 5910 W Plano Pkwy ste 100
P.O. Box 11549                         Columbia SC 29211-2265                         Plano TX 75093-2202
Columbia SC 29211-1549


(p)SPRINT NEXTEL CORRESPONDENCE        Synchrony Bank                                 (p)T MOBILE
ATTN BANKRUPTCY DEPT                   PO box 960061                                  C O AMERICAN INFOSOURCE LP
PO BOX 7949                            Orlando FL 32896-0061                          4515 N SANTA FE AVE
OVERLAND PARK KS 66207-0949                                                           OKLAHOMA CITY OK 73118-7901


Trans Union Corporation                True Health Diagnostics                        US Trustee’s Office
PO Box 2000                            PO Box 205401                                  Strom Thurmond Federal Building
Crum Lynne PA 19022                    Frisco TX 75034                                1835 Assembly St.
                                                                                      Suite 953
                                                                                      Columbia, SC 29201-2448

U.S. Department of Education           U.S. Department of Justice                     US Attorney For SC
C/O FedLoan Servicing                  950 Pennsylvanie Avenue, NW                    1441 Main Street
P.O. Box 69184                         Washington DC 20530-0001                       Columbia SC 29201-2862
Harrisburg PA 17106-9184


UpRight Law                            Upright Law                                    Veridia Diagnostics
79 W Monroe St                         79 W. Monrow St.                               Dept CH 19669
10th Floor                             Chicago IL 60603-4952                          Palatine IL 60055-0001
Chicago, IL 60603-4952


Verizon                                Verizon Wireless                               Verizon Wireless
by American InfoSource as agent        Attn: Verizon Wireless Bankruptcy Admini       Po Box 650051
PO Box 248838                          500 Technology Dr, Ste 550                     Dallas TX 75265-0051
Oklahoma City, OK 73124-8838           Weldon Spring MO 63304-2225


Wells Fargo                            York County Clerk of Court                     York County Master in Equity
Corporate Payroll                      PO Box 649                                     PO Box 627
625 Marquette Ave                      York SC 29745-0649                             York SC 29745-0627
Minneapolis MN 55402-2308
